94 F.3d 642
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Joseph Nathaniel BROWN, Jr., a/k/a Joe Jr., Defendant-Appellant.
    No. 96-6258.
    United States Court of Appeals, Fourth Circuit.
    Aug. 20, 1996.
    
      Joseph Nathaniel Brown, Jr., Appellant Pro Se.  Joan Elizabeth Evans, Assistant United States Attorney, Richmond, Virginia, for Appellee.
      Before MURNAGHAN and ERVIN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his motion to compel the prosecutor in his criminal case to produce certain documents.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.   United States v. Brown, No. CR-93-151 (E.D.Va. Jan. 23, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    